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IN THE CHANCERY COURT FOR KNOX COUNTY, TENNESSEE

 

 

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rHoMAS GIRDLESTONE, ’* ->‘/ '~” `
V- DocketNo.:v f 2 é? 5 9 _7~ /
.Iury Demanded
ACE LIMITED, a/k/a
ACE GROUP &
ACE WESTCHESTER,
d/b/a ]LL[NOIS UNION
Defendants.
SUMNIONS
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'Cettll\ d a wl /\j//"
TO: ACE LIl\/HTED, a/k/a (j,,& 03 Coult
ACE GRoUP & md trader C‘“‘“`

c/o Attorney Gregory W. Brown
5410 Trinity Road, Suite 116
Raleigh, North Carolina 27607
PH: 919.719.0854

\; and
ACEWESMSTER, Q,M
d/b/a ILLINOIS UNION \U

YOUR ARE HEREBY SUMMONED, and required to serve upon the Plaintiff’ s counsel,
Russell L. Egli, Law Office of Russell L. Egli, 257 5 Willow Point Way, Suite lll,
Knoxville, TN 37931, an Answer to the Complaint served herewith upon you within
thirty (30) days upon receipt of this Summons and accompanng Complaint exclusive of
the day of Service. If you fail to answer within the time required by law a default
judgment may be taking upon you for the relief set forth in the Plaintifli’ s Cornplaint

served upon you.
ISSUEn,thiS §§ day of Q;/Hg£ g ,2009.

 

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TO THE DEFENDANT:

Tennessee law provides a four thousand dollar ($4,000) debtor’s equity interest personal
property exemption from execution or seizure to Satisfy a judgment lf a judgment should l
entered against you in this action and you Wish to claim property as exempt, you must file
a Written list, under oath, of the items of Which you Wish to exempt With the clerk of the
court. The list may be filed at any time and may be changed by you thereafter as
necessary, however, unless it is filed before the judgment becomes final, it Will not be
effective as to any execution or garnishment issued prior to the filing of the list. Certain
items are automatically exempt by lavv, and do not need to be listed, these include items
of necessary Wearing apparel (clothing) for yourself and your family and trunks or other
receptacles necessary to contain such apparel, family portraits, the family bible, and
school books. Should any of these items be seized you have the right to recover them. If
you do not understand your exemption right or how to exercise it you may Wish to seek
the counsel of a lawyer.

MAIL LIST TO: Knox County Chancery Court

City~County Bldg. Suite 125
400 W. Main Street
Knoxville, TN 37902

Please include docket number on list.

 

RETURN
l hereby certify and return on the day of , 2009

l served the foregoing Sumrnons and Complaint on the person listed above bv;

   
    

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(Ni:> IN THE CHANCERY COURT FOR KN()X COUNTY, TENNESSEE

 

THOMAS GIRDLESTONE, f

   

 

Plaintiff, j
V. Docket No.: 7&> 3 §_'7.. /
7 JURYDEAMNDED
ACE LIMITED, a/k/a
ACE GRoUP & j jj\
ACE WESTCHESTER, _ © jjr .
d/b/a lLLrNois UNIoN INsURANCE l l

Defendants.

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Cornes the Plaintiff, Thomas Girdlestone, by and through under-signed counsel and for

 

his Complaint against the Defendants, ACE Lirnited, a/k/a ACE Group and ACE Westchester
lnsurance Company, d/b/a lllinois Union Insurance Company Would state to this Honorable
Court as folloWs:
l-PARTIES

l. Thomas Girdlestone (hereinafter “Girdlestone”) is a resident and citizen of Knox
County, Knoxville, Tennessee;

2. Defendants ACE Limited, also known as ACE Group and ACE Westchester,
doing business as Illinois Union lnsurance (hereinafter “ACE”) upon information and belief has
its principal place of business in Nevv York City With satellite offices located in lllinois,

Pennsylvania, Georgia, Texas, Colorado and California and is involved in the business of

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CaS€ 3209-CV-00530-TWP-CCS DOCUm€n'[ 1'-1 Filed 12/04/09 Page 3 Of 43 Page|D #Z 7

Wholesale distribution of excess and surplus lines property, casualty, environmental, professional
liability and inland marine insurance products;
H-VENUE

3. Venue is proper before this Honorable Court as the Defendant’s tortious conduct
occurred in the State of Tennessee and Defendants, in the course of doing business in the State of
Tennessee, have availed themselves of the laws of this State and submitted themselves to its
jurisdiction Further_, this dispute arises out of a contractual relationship - a Directors and
Ofticers lnsurance Policy provided by ACE and the terms of that policy provide that Tennessee
is the jurisdiction in Which all disputes are to be resolved;

lll-FACTS GIVING RISE TO CAUSE OF ACTION

4. ACE is not an admitted insurance provider in the State of Tennessee;

5. Girdlestone has an established reputation as a successful businessman both in the
United States and abroad;

6. As a consequence of Girdlestone’s reputation and business success he Was asked,

2004, to serve as the CEO of Aurora Lighting, LLC; When Girdlestone Was asked to serve as
Aurora’s CEO, Aurora Was suffering from poor management, resulting in extreme losses for the
company At the time that Girdlestone Was asked to serve as Aurora’s CEO, he Was also CEO of
ErneraChem, a successful catalytic technology company located in Knonille, Tennessee;

7. Girdlestone accepted Aurora’s offer to serves as its CEO. ln his position as CEO,
Girdlestone Was covered by a Directors and Officers Insurance Policy (“D&O policy”) provided
by Defendant ACE through Defendant Illinois Union lnsurance (See attached Policy as M

_A);

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8. The D&O policy provided for the defense of certain acts and omissions of
Aurora’s directors and officers, and among those covered acts Was defamation; .

9. ln the course of his tenure as CEO at Aurora Girdlestone uncovered numerous
instances of self-dealing and improper transactions by other Aurora officers and directors;

l(). ln retaliation for Girdlestone’s efforts to'root out these improper transactions,
certain of the Aurora officers and directors conspired With Susan Elder (hereinafter “Elder”) to
fabricate a claim that Girdlestone had defamed her and also to terminate Girdlestone’S
employment lndeed, certain of the evidence against Girdelstone consisted of canned statements
that had been fabricated by Elder’s lawyer and others and distributed to other purported
“Witnesses” to the alleged defamatory incident, Who falsely attested to the truth of the fabricated
affidavits;

ll. ACE assumed the defense of Elder’s frivolous claim against Girdlestone pursuant
to the D&O policy and retained the services of Attomey William Sessions of Weintraub &
Stock. When Sessions Was retained, Girdlestone discussed With him the possibility of bringing a
counter-claim against Elder and others Who had conspired to bring the frivolous Elder action and
to Wrongfully terminate Girdlestone’s employment Sessions Was receptive to the idea;

lZ. Girdlestone, innocent of the frivolous allegations brought against him, sought to
vehemently defend the claim. As part of his response to the frivolous claim, Girdlestone sought
to bring a counterclaim against those individuals Who had conspired to bring the frivolous action
against him and to terminate his employment

13. ACE, Which directed and authorized the nature and pursuit of Girdlestone’s

defense through its appointed counsel, however, refused to file a counter~claim on behalf of

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Girdlestone, giving no attention to the strategic importance of including these counterclaims as a
response to the frivolous allegations against him;

14. That soon after ACE had retained the services of Sessions, he left the Weintraub
firm. ACE then retained the services of Attorney Greg Grisham (hereinafter “Grisham”) with
the law firm of Leitner, Williams, Dooley & Napolitan;

15. Unhappy with the services that Grisham was providing Girdlestone, Girdlestone
contacted Rodriquez to complain about the lack of attention his legal defense Was providing him.
ACE continued to regulate and assume authority to direct the line of Girdlestone’s defense in the
Elder case. Rodriquez became angry with Girdlestone for seeking to protect his rights, and told
him that he was overreacting and taking the lawsuit too personally Notwithstanding the frivolity
of the Elder allegations and the improper actions that had been taken against Girdlestone,
Rodgriguez told him he should just settle the case. When Girdlestone informed Rodriquez that
given his business and reputational interests, he thought it important to defend his innocence,
Rodriquez became angrier still. Further, upon information and belief Rodriquez is a licensed
attorney with the right to practice law in New York;

16. Girdlestone informed Rodriquez that he was not going to settle, that the claim was
frivolous, that there had been a conspiracy to bring the action against him and that he wanted to
protect his reputation by defending against the lawsuit and bringing counterclaims against the
appropriate individuals;

l7. Rodriquez, however, failed to authorize the taking of any action to investigate a

counter-claim for Girdlestone;

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l8. Because ACE has demonstrated no interest in protecting Girdlestone’s interests
by vigorously defending against the frivolous Elder allegations, Girdelstone was forced to retain
the services of Attorney Russell L. Egli and Tanya Acker;

l9. Girdlestone then brought a counter-claim against Elder and a third-party claim
against Tom Rose, Anthony Willis and David Shields, all board members of Aurora and thus
covered under the same D&O policy issued by ACE. Girdlestone’s claims involved counts of
civil conspiracy, malicious prosecution, as well as infliction of emotional distress;

20. After filing the counter-claim and third-party claim, Girdlestone instructed Egli to
inform Rodriquez of the fact that there existed a serious conflict of interest with respect to ACE’s
handling of the Elder claims and Girdlestone’s counterclaims lndeed, Rodriquez was his claims
adjuster on the Elder claim and also the claims adjuster on the claim Girdlestone had brought
against the other officers and directors of Aurora. Rodriquez was thus in the position of
defending Girdlestone in one instance and attempt to defeat him in another;

21. Neither Rodriquez nor any one else at ACE ever responded to Girdlestone’s letter,
nor did Rodriquez or anyone else at ACE call Girdlestone to discuss the conflict of interest issue
he had raised;

22. On or about 0ctober of 2008 Girdlestone dismissed his lawsuit against Aurora
officers and directors Rose, David Shields and Anthony Willis, on procedural grounds, but re-
filed it under the savings statute;

23. On or about October of 2008, Girdlestone discovered that there existed evidence
that, if pursued, would have provided additional bases of support for certain of the affirmative

defenses he was asserting in the Elder action;

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24. ACE only belatedly authorized the investigation and pursuit of that evidence,
waiting so long to do so that there was not sufficient time to develop it in advance of trial;

25. Girdlestone also pressured ACE to authorize the taking of the deposition of

Coleman Bryan, a former board member of Aurora who had knowledge of the frivoloity of
Elder’s claims and of the improper circumstances surrounding Girdlestone’s termination Bryan
was in poor health, a point about which Girdlestone continued to advise Grisham and ACE.
ACE refused to authorize the deposition and continued to insist that no more depositions were
necessary. Instead of doing any further necessary investigation of the case, ACE insisted that
Girdlestone concede to mediation before continuing to pursue and investigate critical lines of
defense Bryan is now deceased and his deposition never was taken;

26. Rodriquez began threatening Girdlestone, informing him that if he did not enter
mediation with Elder she would pull his legal defense;

27. Rodriquez also threatened Girdlestone that if he did not cooperate in settling the
Elder claim she would pull his defense, thus indicating that she intended to improperly invoke a
“hammer” provision notwithstanding the fact that there was no provision in the policy permitting
this tactic;

28. Girdlestone agreed to mediate the Elder claim only if the mediation was a “gl_o_l£tl_
mediation” which would discuss and possibly settle all claims and counterclaims at issue E_Xl_i_ibit
_B.;

29. lnitially ACE agreed to do a global mediation but then reneged on this agreement

Rodriquez again threatened Girdlestone that unless he mediated she would pull his legal defense;

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30. Girdlestone again demanded that Rodriquez and ACE enter into a “ global
mediation.” Ro_driquez and ACE finally agreed to a global mediation, which agreement was
reflected in the agreement to mediate;

3 l. During the mediation Rodriquez and ACE again reneged on their agreement to
move forward with a global mediation, and again threatened Girdlestone that, if he did not settle
the Elder action during that mediation, she would cancel his ACE-appointed defense Rodriquez
insisted that Girdlestone settle the Elder claims ~ and release Elder and her lawyers from
Girdlestone’s claims arising from their role in the conspiracy against him ~ without providing
Girdlestone any opportunity to seek a meaningful resolution of his claims and counterclaims
Rodriquez then called l\/lr. Girdlestone a “iiicker;” in the presence of Egli and Acker and refused
to allow Girdlestone the opportunity to develop evidence critical to his defense;

32. Girdlestone agreed to settle the matter only if ACE would execute an
acknowledgement that he was not settling the Elder matter willingly but was in fact being forced
to do so by ACE (See attached Acknowledgement as Exhibit C);

33. As Rodriquez agreed to sign the acknowledgement if Girdlestone would agree to
settle the claim, Girdlestone conditioned his assent to the settlement on Rodriquez’s execution of
the acknowledgment Girdlestone faxed to Rodriquez the acknowledgement and signed the
settlement agreement ~ his assent being expressly conditioned on Rodriquez’s compliance with
their agreement that she sign the acknowledgement provided by Girdlestone After receiving
Girdlestone’s signature, however, Rodriquez refused to sign the acknowledgment;

34. After this fraudulent inducement to settle the Elder matter, Rodriquez made only a
bad faith offer to settle Girdlestone’s clairns, which he rejected Rodriquez then left her office,

effectively terminating the mediation;

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35. Since the fraudulently-induced mediation Girdlestone’s counsel made a demand
to ACE to settleGirdlestone’s claims against ACE and discovered that Rodriquez_ was no longer
working at ACE;

36. Despite Girdlestone demanding that ACE mediate this claim pursuant to the D&O
Policy, ACE refused to do so;

37. Girdlestone subsequently demanded from ACE-retained counsel Grisham a copy
of his “claims file,” which Grisham initially refused to produce. Further, ACE-appointed counsel
Grisham wrote Egli back and threatened to withdraw as Girdlestone’s counsel if he did not sign
the order of dismissal on the Elder claim;

38. Girdlestone then made a written demand to ACE pursuant to the D&O policy that
it appear for non-binding mediation to try and settle Girdlestone’s claims;

39. ACE agreed to comply with the D&O policy and mediate the Girdlestone claims;
that mediation was to be held on October 8, 2009 before the Honorable Robert Murrian in
Knoxville, Tennessee;

40. Two days prior to mediation, however, ACE cancelled the agreed upon mediation

lV-UNFAIR CLAIMS PRACTICE-COUNT l

¢lrl.1 Girdlestone incorporates by reference paragraphs 1-40 above as inclusive of
paragraph 41 of Count l;

42. Defendants acts and omissions herein constitute are in violation of T.C.A. § 56-8-
103 (Unfair Methods of Competition and Unfair or Deceptive Acts Prohibited);

43. l\/lore specifically, Defendants acts and omissions herein are in violation of T.C.A.

§ 56-8-105 (Unfair Claims Practice) paragraph (l)-(4);

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V-NEGLIGENCE-COUNT 2
44. Girdlestone incorporates by reference paragraphs l-4O above as inclusive of
paragraph 44 of Count 2;
45. As an insured Defendants owed Girdlestone a fiduciary duty;
46. As an insured Defendants owed Girdlestone a duty of care not to damage his
reputation or cause him to suffer future economic damage;
47. The failure of Defendants to protect the interests of Girdlestone over that of their
own interests has caused Girdlestone damages
Vl-VIOLATION OF THE TENNESSEE CONSUMER PROTECTION ACT-COUNT 3
l 48. Girdlestone incorporates by reference paragraphs l-4O above as inclusive of
paragraph 48 of Count 3:
49. That by deceiving and misleading Girdlestone Defendants have violated the
Tennessee Consumer Protection Act and have caused Girdlestone damages and attorney fees;
Vll-BREACH OF CONTRACT-COUNT 4
5 O. Girdlestone incorporates by reference paragraphs 1-40 above as inclusive of
paragraph 50 of Count 4:
5 l. That Girdlestone was a third-party beneficiary to the contractual obligation
between Aurora Lighting and Defendants in his position as CEO of Aurora;
5 2. rl`hat as a third-party beneficiary to the D&O contract between Aurora and the
Defendants, Defendants owed a duty to properly investigate evidence in the Elder matter which

would have provided Girdlestone an affirmative defense and or ultimately a dismissal of Elder’s

claim;

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53. That by not sufficiently investigating important evidence which would have
l provided a defense or exculpated Girdlestone with regard to Elder’s claims_Defendants breached
the contract with Girdlestone as a third-party beneficiary and caused him damages as a result
thereof;
Vll-OUTRAGEOUS CONDUCT-COUNT 5

54. Girdlestone incorporates by reference paragraphs l-40 above as inclusive of
paragraph 54 of Count 5:

55. That as an insured Defendants owed a duty of undivided loyalty to Girdlestone;

56. That Defendants willfully and maliciously disregarded their loyalty to Girdlestone
by using threats, intimidation tactics and misrepresentations of the policy provisions to force
Girdlestone to settle the Elder claim;

57. That Defendants’ conduct towards its insured is further outrageous in that
Defendants’ referred to Girdlestone as a “fucker” during the Elder mediation;

Vlll-FRAUDULENT MlSREPRESENTATION-COUNT 6

58. Girdlestone incorporates by reference paragraphs l-40 above as inclusive of
paragraph 58 of Count 6;

~59. Defendants had no intention to conduct a global mediation of the Elder claim, as
well as Girdlestone’s claims when it represented to Girdlestone it would;

60. Girdlestone relied upon Defendants’ fraudulent misrepresentations to his
detriment;

61. Defendants fraudulently misrepresented the provisions of the D&O policy and the

authority that Defendants had under the policy;

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62. That by relying on the fraudulent misrepresentations by Defendants Girdlestone
suffered damages;

WHEREFORE, PREMISES CONSIDERED PLAINTIFF PRAYS FOR JUDGMENT
AS FOLLOWS:

A. That the Defendants be served with process and that they be required to answer
this complaint under oath within the time required by law. That by agreement Attorney Gregory
W. Brown accepts service on behalf of the Defendants;

B. F or a Juiy to try this cause;

C For an award of damages as to Count l in maximum statutory amount;

D. For an award of damages as to Count 2 of not less than SSO0,000;

E For an award of damages as to Count 3 of not less than $2,000,000 trebled for a
demand of $6,000,000;

F. F or an award of damages as to Count 4 of not less than 33100,000;

For an award of damages as to Count 5 of not less than $l,000,000;

G
H. For an award of damages as to Count 6 of not less than $lO0,000;

l. For an award of punitive damages to be determined separately by the jury;
J. For an award of attorney fees pursuant to Count 3 of this complaint;

K. For anlaward of discretionary costs;

L. For costs of this cause to be taxed to Defendants;

l\/l. For general relief.

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Respectfully submitted,

LAW DFFICE OF RUSSELL L. EGLI

W/;,

Russell L. Egli

Attorney for the Plaintiff
P.O. Box 23843
Knoxville, TN 37933
(865) 531-8192
BPR#024408

 

COST BOND

We, the under-signed authorities bind ourselves as principal and surety respectively

Thomas Girdlestone “’~‘Pi-~e~ few

M ,

Russell L. Egli, Esq.

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lssueu Ey {Name of insurance Gompany) . -
_ minds union tnsuranco Company

 

_ seizva oF-surr ENooRsEMENT

' lnfonnatton about service of "su§ts" upon us is given below. Service of process of “sutts" against us may
be made upon the following person, or another person we may destgnate:

 

." . Counsel.'
' ACE USA Companies
'I`wo liberty Place - '_1`L35M
4 1601 Ch¢s.'mm So~eet .
Philadelphia,‘PA 19103

 

 

 

` 'l’he person named above is authorized and directed to accept service of process on our behalf ln any
v actloo, "sult" or proceeding instltuled against ua. lt you request we wilt give you a written promise that a
general appearance will be_ entered on our behalf if a "suit“ ls brought ` ’ -

_ lt you request we. will submit w the promotion of any~coun of comment jurisdiction We win accept me
final decision of that court or any Appeilate court in the event of an appeal.

Tho law of some jurisdictions of the Unlted States of »Amortca require that the Super€ntendent,

_ - Commisslonor or Director of lnsurance (or their successor in omce) be designated as our agent for
- service of- procesa. 'ln these jurisdictions we designate the Girector of lnsuranoo as our true and lawqu l
.attomoy upon whom'servios of process on our behalf may be mado. We also authorize the Direcior of

lnsuranoe to road process received on our behatf to the company person named above. _ '

» __lf you are a restoant_of Canoda. you may also‘serve "suit" upon us by serving the government othc§a!

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EXHlBlT A

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Deciaratio_ns

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RELEVANT CQVERAGE SEC.T|ON. THE CRIME COVERAGE SECT!GN,, iF APPL!CABLE, APPLIES

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4 HERE|N. AMGUNTS iNCURRED FOR COST'S, CHARGES AND EXPENBES AND LOSS SHALL `
f ALSO BE APPL¥ED AGA|NST THE RETENT¥ON AND DEDUCTIBLE AMOUNTS. ‘

TERMS THAT APPEAR iN BOLD FACE TYPE HAVE SFECiAL MEAN|NG PLEA$E REFER 70 'i'HE _
~ APPROPR|ATE DEF|N!T|ONS SECTlONS QF THIS POLiCY

` Policy_Numbar: BM120025651.

‘ ~'item A Parent Company: Aurora l..ighiing, inc.
Principai Aodrese: 8870 Cedar Springe Lana
_ ~ i<noxville, TN 37923

~ item B. Foiicy Poriod: Frorn: Segtember g§, 200 § To: §§pi§mg_er 25, 200§_
~ ' ' 122 01 a. rn. ioc_al time at the Principal Address shown' in item A.

itern_ C Coveroge Séciion(s):
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Limii of Liabnity

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b $ g additional aggregate for ali Loss under insuring Ciause Ai subject to ic
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2.| Retentions;
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w . 3 continuity Daie: Septerr_\ber 25 2003 for any loss payable as respects the first
~ , _ 51 000 000 of ihe above limi! of liability

` ' Septcmber 25 2005 for any loss payabie eis respects the above iirnii
‘ of iiahiiity' in excess of $1, 000 000 _

isr.~ioieogc_nos) _ '_~ ` . '» _' .' _Paoeiorz" ._

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`_,'111.11`.! 2006~5:1')11>11 11111111331£ '11111110@1 13301:11153 111.1_1\5 ~1.1/25

" 1131-11 D. Premium; $9,037

  ltem,E. mscher Feriod .

y _ 1._0119 (1) year ' 4 100% of the premium
2. Two (2)~ years 125% of the premwm
3 .Three (3) years 150% of the premium

'As provided in subsection H of the General Terms and Cond$tiuns. onty one of the above
Disoovery Per\od options may be elected an_d purchased. .

_ '1tem F,. Run-Off Foriod

1. Dne (1) year ~ 100% of the premium _
. z. Two (2} years ' 115% of the premium
W_ » ,_3. Three (3) years 130% or the premium
4. Four (4) years 140% of the premium
5 Five (5} years 145% of the premium `
`6.81>1 (8) years 150%_ of the premium

' As pmvide_d‘ m subsecn_on l cf the Genera! Terms and Conditions. only one of the above R_un-Qrf '
Period options may be elected and purchased. ` -

1th G. Notice under this Fo_!¥cy shall be given to:

AC-E~Westchester Specia|ty C¥aims
1133 Avenue of the Amer£cas
, 38111 Fioor
1 New ¥ork_ N‘*¢' 10035 _

1 item H Farm$ attached at F'o¥icy' zssuance: TR!A SL_15191 07105 SL-15193 07!05. 51..-15319, SL-15324,.
' ' X&1 Uaed.
~!N WtTNESS WHEREOF the insurer has caused this Folicy to be signed by its Presldent and
_ v Se_cretary, and countersigned by a duly authorized representative of the |nsuror. ,

» d v
A"?‘r M._,_,
_ G£U$€ l “W.|B~IK Sicnur'¢ 4

  

JQHN' J, Lu?|¢.¢~. _Présiden\ .

vi`DATE:-‘ \\ 2;€>`{' , .4 ' \/QM¥\A»¢:.:~.',» \ r-D""""

Authprized R_epresemative

'~-~sL»15190;1.171115)'_~ \_ h ' .» y § `Pagez_orz'~'

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1 ` 'Jul'.l?- 2085 SSOSPM_ )ENNESSEE UROLOGY ASSOC\A¥ES ,` No»$$l§ P»'Y/ZS

TENNESSEE

` - _,No'rlc_E 'ro INSURED: .

This insurance contract is with an insurer not ficeissed to transact insurance in this state
land is issued and'delivered as a surplus lines coverage pursuant to the 'I`ennessce insurance _
" ~statutes.' _ _ `

`- '_' sLTNzoM -

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' b 1 ‘ b l 4 _ Business and Management
'Z@ ‘ , . indemnity Poilcy

Generol `i‘erms and Conditions

ln consideration of the payment of premium. in reliance on lho Applicatlon and subject lo the Declarellons
and terms and conditions of this Poiicy, the insurer and the insureds agree as follower

1 A. ~SEVERABiLi`W OF GENERAL TERMS AND COND|’"ONS

1 _ "i’hese Generai Torms ’ancl Condillons apply to each tend every Coverage Sociion of this Poiicy. The
'lerms and conditions of each Covorage Secllon apply only to that Coverege Seclion end shell nat be .

43 ' 5' construed lo apply to any other Covera§e Seclion.

. B. commons

Whenever used in this Policy. the terms that appear below in boidlace type shall have the meanings
set forth in this Dehnitions subsection of the Generai 'i`erms and Conditions. .Howover,_if a term also
.. appears in boldface type in a particular Coverage Section and is defined in lhat Covcrogc Seclion.
that definition shall apply for purposes of that particular Coverage Seclion. `l‘erms that appear in
boldface in the General Tcrrns and Condilions but are nol defined in this Definilions subsection and

are defined in other Coverage Seciions of the Pollcy shall howe the meanings ascribed to them in
4 those Coverapo Scclione.

1 l. Appilcalion means all applicol_ions. including any attachments iherelo, and all other information
` and materials submitted by- or on behalf of the insureds to the insurer in connection with the
insurer underwriting this Foiicy or any policy of which this Policy is a renewal or replacement
All such applicationo. attachments information moleriols and documents ore deemed attached
t_o and incorporated into this Policy

- 2. Company means:
' _a) the Parent Company; and

b) any Subsidiary,

and includes any such organization as a debtor-ih-possession or the bankruptcy estate oi such

entity under United Slai_es bankruptcy low or an equivalent slaius under the law of any other
jurisdiction .

` ' 3. Discovery Period means one of lhe periods described in llcm E of the Dcclarotions which is
~ elected and purchased pursuant to subsection i-l below

» 4- Domeotic` Pariner means any natural person qualifying as a domestic partner under the
» provisions of any applicable fcderal, state or local law or under the provisions of any lorrnal
program estal)llshcd by the Company. ~

_`S. Exiended Period means the Discovery Period or the Run-Off Period, if such provision is '
~ elected and purchased pursuant lo subsections l-l or i. respectively below

61 insurer means the incurrence company providing this insurance_.
»'i‘. Parent Company means the entity iirs_l named in item A of the Deciarations. » -

8.‘ Policy meane. collectively the Doclarallons. the Appllcation.'- this policy form and any 4 _- m
endorsements '

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t _ '1111.11`.'21)1)1` 5:1111>.11' thurser vinton lssocluts c 111.31111 1>. 9/21

9. Policy Fdrlod meanc the period from the effective date end hour of the inception of this Poiicy
to the Policy expiration date and hour as set forth in llem. iii of the Docieretions, or lie earlier
cancellation date and hour, if iany.a ~ ' » _

' .` lo.~Run-Ofi'l°eriod means one of the periods described in item F of the Dooieratione, which is
‘ electe`d.and purchased pursuant to subsection l uolow. .

11. subsidiary means: 1

a) any entity of which more than 50% of the outstanding securities representing the present
right _to vote for the election of such entity‘s directors or managers are owned by the Parcnt
Company, directly or indirectly if.cuch entity: ‘

w{i) was so owned on or prior to the inception date of this Policy ; or
__ lii)~ b becornes so owned after the inception date of this Pollcy; end

b) any joint venture entity in which the Parent Company, `or en entity described in a) above, has
' an exact fifty percent '(50%) ownership of the interests of such joint venture entity and where

` pursuant to a written joint venture rogreer'rlentt the Faront Comparly or entity described in a)
above solely controls the management and operations of such joint venture entity. `

12. Tal<e_ovcr meane:

. a) t the acquisition by any person or entity of more than Sti% of the outstanding securities of'the h v
" , c A~ ~ ‘ 4 . _ ' , v Parent Company representing the present right to vote for the election of directors: or_~

b), ' the merger or consolidation of the Parent‘Company'inlo another entity such that the parent
Ccmpany is not the surviving entity.

` All definitions shall appiyequally to the singular end plural forms of the respective words.

; C., LlMlTS OF LlABlLiTY, RETENTIONS AND DEDUCT|BLES`

‘ l. ` The Limits of Liebility, Retentions and Deductibles for each Coverage Section are separate Lirniis '
' of uability, Retentions and Deduciibles pertaining only to the Coverage Section for which they are
shown. The application of a Rctention or Deductible to Loss under one Coverage Section shall
not reduce the Retention or Deduotible under any other »Coverage Section, and no reduction in
_ the Limit of liability applicable to one Coverage Section shall reduce the l`.imit of Liability under
any other Covera_ge .Section. .

'_2. in the event that any Clalm is covered, in whole or in part, under two or more insuring Cleuaes or '
'. more than one Coverage Section. the total applicable Retcntion or Deductible shall not exceed
the single largest applicable Retention or Deductible. Tho largest applicable Retention or
Deductible shall apply only once to such Clair_n.- -

o. wARRANT‘r

. it is warranted that the particulars and statements contained in the Appllcatlon are the basis of this

‘~Pollcy and are to be considered as incorporated into and constituting a part of this policy`and each j
Coverage Section.` " v ’ .

By acceptance of this Policy. theinsureds, agree that
i. the statements in the Application are their representations, that such representationa shall 'be
y deemed .,r_naterial to the acceptance.of the risir or the hazard assumed by insurer under this

'F_olicy. and that this Folicy and each Coverage Scction arc issued in reliance upon the truth of
such representations; and " ‘ ~ » . ' ` ' ' 4

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. 2; » in the event the Appiication, including materials submitted or required to be submitted therewith

, contains any misrepresentation or omission made with the intent to decelvo. or contains any

misrepresentation or omission`which materially effects either the acceptance of the rick or the

v hazard assumed by insurer under this Polioy. this Policy. including each and eli Coverage

Sectlorls, shell be void ab initio with respect to any insureds whoth knowledge ot such
misrepresentation or omission

: e. cnncei.t.n'nou `

i. By acceptance of this Policy, the insureds hereby confer to the Faront Company the exclusive
power_end authority to cancel this Policy on their behalf lite Parent Company m‘ey cancel this
Poiicy in itc entirety or any ot the applicabie Coverage Seotions individually by surrender thereof
to the lnsurer. or by mailing written notice to the insurer stating when thereafter such
cancellation shall bo effective The mailing of such notice shell be sufficient notice and the
effective date of cancellation shell be the date the insurer received such notice or any later date
specified in theno_tioa, and such elfeclivo date shall become the ond\of the Polic'y or applicable
Coverege $ection. De|ivery of such written notice shall be equivalent to mailing.

2. y This Pollcy may be cancelled by the insurer only for nonpayment of premium by mailing written

‘ ' notice to the Parent Cornpany stating when such cancellation shall be effective. such date to be
not less than ten (10) days from the date ot the written notice. The mailing of such notice shell be
sufhcient notice end the effective date of cancellation stated in the notice shall become the end of
the Policy Period. Delivery of such written notice by the insurer shall be equivalent to mailing. if
the foregoing notice period is irl conflict with any governing law or regulation then the notice
period shell be deemed to be the minimum notice period permitted under the governing law or
regulation 1 _ ~

3. »lr‘ this Poiicy or any Coverage Soction is cancelled, the insurer shell retain the pro rata
- proportion of the premium therefore Payment or tender of any unearned premium by insurer
. shall not be a condition precedent to tho»effectiveness of cancellation

. ' i=_i _'es`rnres, t.EoAt. neenesen'rnnvs's, Auo spouses

' The estates. heirs, legal representativos, assigne. spouses end Domestic Partners of natural
persons who ere insureds shall be considered insureds under this Policy; provided however,
coverage is_etforded to such estates, helic. legal representatives. assigns, spouses end voicesth
Partnem only for a Claim arising solely out ol their status as such and, in the case of a spouse or
Domestic Partnor, where the Ciaim seeks damages from marital community property, jointly held ~
property or‘property transferred from the natural person who is en insured to the spouse.or

= Domestic Portnor. ' No coverage is provided for any Wrongful Act of an custom heir, legal

‘ representative assign spouse or Domostic Partner. Ail of the terms and conditions of this Polioy

1 ‘_ including without limitation the Reterltions end Deductil)les applicable lo Loee incurred by natural
persons who ere insureds shall also apply to Loss incurred t)y such estates. heirs, legal
representatives, essigns. spouses and Domestlc Fertners.

4 o. Aurnoniznrrou cLA'usE_

, By acceptance of this Policy, the Parent Company agrees to acton behalf of all tnsureds. and the
insureds agree that the Porent Company will oct on their behaif, with respect to the giving of all t
notices to lnsurer, the receiving of notices from lnsurer, the agreement to end acceptance of
endorsements. the payment of the premium end the receipt of any return premium

H. l olscovERY PERroo

i. _if this Po_lir:y or any Coverage Section is cancelled or is not renewed by the lnsuror, for reasons 4
other than non~poyment or premium or if the Parent Company elects in cancei or not to renew
this Poticy or a Coverege Section. then the Parent Company shall have the right, upon payment

. of en additional premium calculated at that percentage shown in item E of the Declereiions of the
total premium for this Poiicy, ortho total premium for the cancelled or not renewed Coyerage

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Sectiorl,' whichever is applicabla, to purchase an extension of the coverage granted by this Poiicy
or the applicable cancelled or riot renewed Coverogo Section with respect to any Cialm first

’ _ made during the period of time set forth in item E cl the Decloratlons after the effective date of

_ouch cancellation or. in the event or a refusal to renew, alter the Poilcy expiration dsto, out only

with respect to any Wrongful. Act committed before such dato. the Parent Company shell have
the right to elect only one of the Discovery Periocis set forth in item E or the Daclarations.

As a condition`prececlent lo the rightful purchase the Dlscovcry Porlod set forth in subsection
H‘i above, the total premium for the Pollcy must have been pald.~Such right to purchase the

'Discovery Period shall terminate unless written nolioe. together with full payment of the

premium for the Dlscovery Period, is received by insurer within 30 days after the effective date
of cancellation or;l in the event of a refusal to ronew. within 30 days after the Polioy expiration
dale. if such notice and premium payment la riot so given to lnsurer. there shall be no right`to

‘ purchase the Discovery_Perlcd.

in the evont_oi the purchasé of the Discovery period. the entire premium therefore shall be
deemed carried at the commencement of the Discovery Period.

._ The exercise of the Diccovery Poriod shall not in'any way increase or,rolnsiato the limit of

insurers liability under any Covorago Section.

RuN~oFF covi_anAGE

1'.

_ in the event of.a Takeoyer:

The Parenl‘ Company shall have the rlght, upon payment of an additional premium calculated at
the percentage of the total premium for this Poiicy set forth in item F of the Declaralions, to an

extension of the coverage granted by this Polic_y with respect`to any Claim first made during the

Run~Off Pen`od. as _set forth in item F of the Declarations, but only with respect to any Wrongful
Act committed before the effective date of the Talreover (herein defined as “Run-Oif Coveragc");
provided. however, such additional premium shell be reduced by the 'amounl*of the unearned
premium from the date of the Talreover or the date of notice of the election of the Run-Ol'i' ¢
Coverage, whichever is later, through the expiration date set forth in item B of the Deolarations.

The Porent Co_mpany shall have the right to elect only one of the periods designated in item F of ~ '
the Declanations. Tho election must be made prior to the expiration of the Poiicy Ferlod. The

` right to purchase a Run~Off Period shall terminate on the oxpiration of tile policy Pe_riod.

if a Run¢ofi Perioct is elected and purchased:

a) Subscction E, aoovo, is deleted in its entirety and neither the insureds nor thc insurer may
» cancel this Policy or any Covcrago Section thereol;'

l -` b)' Subcecilon l-l. above‘ is deleted in itc entirety; and 4

cl the maximum aggregate l.imit of Liabiiily of the insurer for each Coverage Seclion
purchased lrand set forth on the Declaralions shall be twice the otherwise applicable

~ maximum aggregate Limit of liability set forth in item C of the Declarations for such
Coverage Soction; providod. how/overl the maximum aggregate Limit of Liability of the
insurer in connection with any one Claim shall be amount originally shown as the maximum .
§ggregate Limlt of Liabliity for each Coverage Soction purchased and set forth on the '
eclaration. ~ _ .

ALTERNATNE olsr=urr-: REsol.uTion ~

The insureds and thc insurer shall submit any dispute or controversy arising out of or relating to this'
_Policy or the breach. termination or invalidity thereof to the alternative dispute resolution (”ADR”)
Procezs described in this subsection _ ' ~ » " ' ~‘

o Jtil~l?. 2996 5106Pli_ ltNii`ESSEE UROLGGY ASSOCIATES N0»36|5 P. 12/25

- Eilher an Insured or the insurer may elect the type of ADR process discussed below; provided

; however, that the insured shall have the right to reject the choice by the insurer of the type of ADR

~ process at any time prior to its commencement in which case the choice by the insured of ADR
process shall control. .

- . There shall be two choices of ADR process: (‘l) nonbinding mediation administered by any mediation
facility to which the insurer and the insured mutually agreo, in which the insured and thelnsurer
shall try in good faith to settle the dispute by mediation in accordance with the then»prevaillng

_ commercial mediation rules of the mediation facility; or (2) arbitration submitted to 'any arbitration »

` facility to which the insured and the insurer mutually agree, in which the arbitration panel shall

- consist of three disinterested individuals. in either mediation cr arbitration the mediator or arbitrators

~shall have knowledge of_the legal corporate management and insurance issues relevant to the
matters in disputel in the event of erbltratlon. the decision of the arbitrators shall he final and binding
- and provided to both parties. and the award of the arbitrators shall not include altorneys' fees or other
coste. in the event of mediation. either party shall have the right to commence arbitration in

' W»--~ ' ' '- -5»»-:=»;---~-~-~accordance with this section; provided howevcr, that no such arbitration shell be commenced until at

least 60 days after the date the mediation shall be deemed concluded or terminated in all events.
each party shall share equally the expenses of the ADR process. ~

Either ADR process may be commenced in New Yorl<, Now York or in the slate indicated in item A of
" the Declaretlons as the principal address of the Parent Company. 'l'he Parent Compony shell act
.- `* on behalf of each and every insured in connection with any ADR process under this section.

' '_ lt. Tennironv

` Coverage under this Pollcy shall extend to Wrongful Acts taking place or Clalms made anywhere in
the world. ` 4 - . -

` L. , As`sisrnncs,'cooeennrtotl ANo suenocATtoN

- ~The insureds agree to provide insurer with such iniormation. assistance and cooperation as insurer
. reasonably may request and they further agree that they shall not take.any action which in any way
increases lns_uror‘s exposure under this Policy. in the event of any payments under this Poiic'y, _
insurer shall be subrogated to the extent of such payment to ali cl the lnsureds‘ rights of recovery
against any person or entliy. The insureds shall execute all papers required and shall do everything
that may be necessary to secure and preserve such rtghts, including the execution of such
: documents as are necessary to enable insurer effectively to bring suit or otherwise pursue
subrogation in the name of' the lnsure'ds, and shall provide all other assistance and cooperation .
which insurer may reasonably requires _

' .M.: ACT!ON AGA|NST -iNSURER, §LTERAT\ON AND ASS!GNM€NT

` 'Except as provided in subsection ..l abovo, Aiternetive Dlspute Resoiution, no action shell lie against
insurer unless_ as a condition precedent thereto, there shall have been compliance with all of.lhe
terms of this Pollcy. No person ot‘ organizath shall have any right under this Policy to join insurer
as a party to any action against the insureds to determine-their ii`at)ility. nor shall insurer be ,
impleaded by the insureds or their legal representative No change in, modification of, or assignment

. 'of interest under this Policy shall be effective except when made by o written endorsement to this »

' Policy which is signed by an authorized representative of the insurer. ‘ '

n.' purina Acnee_u'cm

_. 'By acceptance of this Foiicy, the insureds agree that this Pollcy embodies endorsements existing
, between them and insurer or any of their agents relating to this insurance Nolice to any agent or
~ knowledge possessed by any agent or other person acting on behalf of insurer shall not effect a '
- . waiver or a change in any part of this Policy cr estop insurer from asserting any right under the
~ terms of this Policy or otherwise nor shall the terms be deemed waived or changed except by
written endorsement or rider_issue_d by insurer inform part of this Policy. , '

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t j n _ f d d Business and Managemeni;
g ._ . indemnity Poiicy

Directors & officers and Cornpany
Cover`age Section

' incensideration of the payment ot premium, in reiia`nce on the Appiication end subject to lite Deci_aratiens`
_ end terms end conditions of this Peticy. the insurer and the insureds agree as fcitows.

.¢

pp ins_unms ci.A'usEs

1. Tne insurer shall pay the Loss` of the Blrectcrs and Oiftcers for which the Directors ana
Officers are not indemnified by the Company and which the D¥roctors and officers have
become iegai|y obligated to gay by reason of a Ciaim first made against the Dtroctors and

. v b ' Officers during the Foiicy Feriod or, if eiecied,'the Extended Pcriod. and reported to the
_' '“ ’ insurer pursuant to subsection E1 herein.`for any Wrongful Act taking place prior to the end of
‘ ` ~ » ' - . ' - ` the Foiicy Period.-_ '

2. The insurer shall pay the Loss of the Company for which the Cornpany has indemnified the
' .4 ~ Directors and officers and which the Directors and Ofiicers have become iegaily obligated to
, pey` by reason of a Ciaim tirst made against the Directors and Otficers during the Po|icy
Perio'd or,'it eiected, the Extended Period, end reported to the insurer pursuant to subsection

Ei herein. for any Wrong!ui Act wiring place»prior to the end of the Foii¢:y Fon‘od.

3. The insurer shaii pay the Lcss of the Company vvhich the C'ompany becomes iegaliy obligated
' jto pay by reason of a Claim first made against the Company during the Poiicy Period or, if
. applicable the Extended Feriod, and reported to the insurer pursuant to subsection E‘i herein,

1 .for anywrongfui Act taking place prior to the end of the Poiicy Poriod.
* e. cer=inntotvs ' ' ' `
' . ' 1'.: ¢laim means:

'-e) a written demand against any insured for monetary damages or non-monetary or injunctive
' relief; ` v ,

g b) a written demand by one or mere of the securities holders of the Company ugon the-board ,
of directors or the management board of the Company to bring a civil proceeding against
_ any ofthe.Direc_tors' and Officers on behalf of the Com_pany; ` '

' c}{ a civil preceeding"egainst any insured.seeking monetary damages or non»monetary or
' injunctive relief. commenced by the.service of a compiaint o_r similar pieading;. - .

_‘ d)_ ad criminal proceeding against any insured, commenced by a return of an indictment ur'
_ _ similar ctccument. or receipt or filing of a notice of cnarges;

e) en erbitrailon proceeding against any insured seeking monetary damages or non-monetary
~ or injunctive reiiei': or - ` ' 4 . ` ‘

'f) a` civii, .édministrative or regutatbry proceeding or a» format governmental investigation
' against any insured commenced by the iiiing of a notice of charges investigative order or
similar document ‘ _ _

~2. ¢ontin city Data'means the date set forth in item C of the Decierations relating to this Coverage
' Sectlon. » ’ . ` . _ '

" 3. 'Cests, Charges and Exp'en_ses means:

e)` reasonable and necessary legai'custs. charges, fees and expenses incurred by any of the
insureds in_defending Cia_ims and the premium for appeal. attachment or simter bonds

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'Jlli~ll'-,?GUS' SZUlPli il:llrit$$€€ 'UROLOGY ASSOCiATES ~ N0-36l5 P. iii/25

erising out of entered judgments but with no.obiigation to furnish such bonds and only for
» the amount of such judgment.that is up to the applicable Limit of t.iabliity; and

b) reasonable end necessary legal costs cnarges, fees end expenses incurred lay any of the
insureds in investigating a written demand. by one or more of the securities hoidors of the

company upon ina board of directors or the management board of the Company, to bring a
civil proceeding against any of the Directors and Ofr`icors on behaif of tiie`¢ompany.

Costs, Charges and Expensos do not include seleries, wages feee, overhead or benefit
expenses of or_essociated with officers or employees of the company ~

_4. Directo_rs and Officers means any person who was, now is, or shell become: `

a) a duly elected or appointed director, o'fiioer. or similar executive of the Company. or any
member of the management board of the Company;

` `b) a person _wno wes, is or shell become a full-time or part-time employee of the Company; and

c) the functional equivalent of directors or officers of 'a Compeny incorporated or domiciled
outside the United_Statos of Am¢rica. . t

5_. insureds mean the ¢ompany ancitho Direr:tors and Ofiicors. t
6. interrelated Wrongful Acts means ali Wrongiul Acts that have as a common nexus any fact.
' circumstance situation event, transaction cause or series of facts, 'circurnstences, situations
events, transactions or causes.» ‘
7. Loes means demeges, judgments settlements pre-judgment or post-judgment interest awarded
by a court, and Costs, Charges and Expenses incurred by Directors and Ol‘ficers under
insuring Clauses 1 or 2, or the Company under insuring Ciauso 3. Loss does not lnclude:
e) taxes, lines or penaliies`;
t)) matters uninsureble under the laws pursuant to which this Policy is construed; l
,c) punitive or exemplarydemages, or the multiple portion of any multiplied damage sward,
except to the extent that such punitive or exemplary damages. or multiplied portion of any
~ multiplied damage award are insurable under the internal laws of any jurisdiction which most
favors coverage for such damages and which has a substantial relationship to the insured$.
lnsurer. this Poiicy or the Ciaim' giving rise to such demoges;
d ` d} the cost of any remedial, preventative or other non-monetary reiief, including without
limitation eny'costs associated with compliance with any such relief .of any kind or nature
_ imposed by any judgment settlement or governmental authority; t
' e) any amount for which the insured is not financially liable or legein obligated to pay:

fl fha 60st iO modify Or adapt‘any building or property to be accessible or accommodation or
- more accessible or accommodating to any disabled person; or ~ .

` . g) any amounts owed or paid to one or more securities holders of the Company under any
written or express contractor agreement ' '

8. putside Entity means:
a) any non-profit company which is exempt from taxation under the internal Revenue Code. as
amended, in which any of the Directors and Oiflc_ers is a director` oificer, trustoe. governor.
executive director or similar position of such non-prolit oompeny, and .

b) _ any other company specifically identified by endorsement to this i=oiicy. ,

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until/2006 omni rewrite utmost lssoclltlis q titus l>. 15/25

' .`9. Wro'ngful` Ac't means any actuator alleged error, ornlssion. misleading statement misstatement
» , _ negiact` breach of duty or act allegedly committed or attempted by'. _ .

" a) any of the Dlroctors and Officsrs. while acting in their capacity as such, or_ any matter
` . claimed against any Director and Oificor soialy by reason of his or her serving in such
. capacity", ~

b) any of the Direotors and officers while acting in their capacity as s directcr. ofticor, trustee
' govemor, executive director cr similar position of any Outside Entity where such service is
with the knowledge and consent of the Ccmpany; and

o). the Company, but only with respect to insuring Ciause 3 of this Coveregesection.
c. Exctustcns l
>._ .1.. d _Exclusions Appiicable to All insuring Clauses
insurer shall'not be liable for Loss under this Coverage Section on account of any Clalm;

a) for actual or alleged bodily injury. sickness. disease. death. false imprisonmenl, assault

' ‘t`>_altary, mental anguish, emotional distress. invasion of privacy of any person. or damage to

or destruction of any tangible or intangible property including loss of use thereon whether or
_____ng such property is physically iniurad;

~ `_ b) "aileging, based upon. arising out civ attributable to, directly or indirectly resulting from. in
consequence of. or in any way involving

(i) any Wrongtui'.Act, fact.` circumstance or situation which has bean the subject of any
written notice'.given under any other policy of which this Poiicy is c renewal or
replacement or which lt succeeds in time: or _

" (li) any other Wro'ngful Act. whenever occurring, which together with a Wrongful Aot which

~ _ has bean the subject of such prior notics, would constitute lntcrretated Wrongtul Ar:ts; v . ~

'c)__ alleging. based upon` arising out of, attributable to. directly or indirectly resulting frcm; in
` - .4 consequence cf, or in any way involving: _ - ,

ll) the actual, alleged or threatened discharge, dispersai, release escape seepage.
migration or disposal of Pol|utants; or ' -

- l (ii) any direction or request that 'any insured test for, monitor, clean up. -remove, contaln,
' v treat. detoxify or neutralize Poilutants, or any voluntary decision to do so;
provided, however, this exclusion shall not apply to any Claim brought directly. derivatively cr
ethan/rise by one or more securities holders of the Gompany in their capacity as such.

_For purposes ot this exclusion Pollutants means any substance exhibiting any hazardous
characteristics as denned by. or identified on, a list of hazardous substances issued by the
United States Environmental Protection Agency or any federal. state. county. municipal or
local counterpart thereof or any foreign equivalent Such substances shall lnclude, without
limitation solids. liquids, gaseous. biological. bacterial or thermal irritants, contaminants or
smoke vapor, soot, fumes`. acids\ all<alis. chemicals or waste materials {inciuding materials
to be reconditioned. recycled or reclaimed). Pollutants shall also mean any other air
emission or perticulate, odor, waste water, oil or oil products infectious or medical waste,
asbestos or asbestos products..noise. fungus (inclucllng~mold or mildew and_any~mycotoxins,
spores, scents'or byproducts produced or reteased by tungi, but does not include any fungi
intended by the insured for consumption} and electric or magnetic or electromagnetic held;

Ad) for any actual or alleged violation of tha responsibilities obtlgations or duties imposed by
j * Employee Retirernent income Seouriiy Act of 1974, as amended or any rules or regulations
t k promulgated thereunder. or similar provisions cf any federal. state or local statutory or
-commcnlaw;' ' __ y ‘ ~

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`_‘-"lll.lljzool alin i‘illl£sselurotoelllssol;lurs . llo»llli P-l@/?S

` el brought or maintained by. on behalf of, ln the right ol, or at the direction of any insured in
. l any capacity. any Outslde Entity or any person or entity that la an owner of or joint venture
_ particlpanl'ln any Subaldiary.in any respect and whether or not collusivo, unless such Clalm:

(t) la brought derivatively by a securitiea holder of the Parent Company and le lnsllgated
and continued totally independent ot. and totally without the solicitationl assistance
_ active participation oi, or intervention ol‘, any lnsured; -

(i_i} is brought or maintained by any insured in the form of a cross clalm. third party claim or
other proceeding for contribution or indemnity which is part of, and directly results from a
Clalm that is covered by this Coverage Seciion; `

tim is brought or'malntained by an employee of the company who is not or was not a
director or officer of the Company; -~ ~

v '_ ., - » (iv) is brought or maintained by any fenner director or officer of the Company solely in their '

capacity as a securities holder of the Company and where such Cialm la solely based
upon and arising out of Wrongfut Acts committed subsequent to the date such director `
or officer ceased to be a director or officer of ina Company and where such Claim la
first made two (2) years subsequent to the date such director or officer ceased to be a
director or officer of the Cor_npany: or

(v) la brought or maintained by any bankruptcy trustee or bankruptcy appointed
representative of the Company; _

_f) alleging, based upon. arising out of. attributable to,. directly or indirectly resulting from, in
consequence of. or in any wayinvolving: _ __ ` * _

(i) any dishonest deliberately fraudulent or criminal aot of an lnsureo‘; provided however

' this exclusion f)'(i) shall not apply unless and until there is a final judgment against such
lnsured as to such conduct; or `

(ii)' the gaining of any profit remuneration or ilnar\`cial advantage to which any Directors and ; '
Ofticaro were not legally ontitied; provided however this exclusion f)(ii} shall not apply
unless and until there is a ilnal judgment against such Directors and Otflcers as to such
conduct , ` , v ' ' ' ' '

When i) G) or (ii) apply, the insured shall reimburse the insurer for any Costs, Charges or
Expenses:~ ' _ ' ”. v

g)l. fortna return by any of tile Directors and Ofl`rcers of any remuneration paid to them without
- the previous approval of the appropriate governing body of the Company or Outsido Entity,
which payment without such previous approval shall be held to be in violation of law; ~ -

h) against any of_the Dlrectors and Oflicers of any Subsidlary or against any Subs_idiary’
~ ». valleging based upon, arising out of, attributable to. directly or indirectly resulting from. in
consequence of, or in anyway involving any Wrongful Act actually or allegedly oommltteclor
attempted by a Subsicliary or Direr.tors and officers thereof: t

~(l) before the date such entity~became a Subsidlary or after the date such entity ceased to
~ '_ _ be eSuhaidiary; or " `

(ii) occurring while such entity was a Sub`sidiary whloh, gather with a Wrongful Aot
l occurring before the data such entlty_ became a Subsidiary. would constitute
interrelated Wrongful Acts; ' . . ~

vl)4 allaging, based upon. arising out of, attributable to, directly or indirectly resulting irom, in

consequence of, or in any way involving any wrongful Aet actually or allegedly committed
‘aubsequent to a Takeovar; - _ ~ _ , ; 4 . l

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'j) for e Wronglui Act actually or allegedly committed or attempted by any cf the Directcrs and
_ officers in his or her capacity as e`dlrector. officer. trustee. manager, member of the board
of managers or equivalent executive cf a limited liability company cr employee of, or-
- independent contractor for or in any other capacity or position with any entity other then the
Ccmpany; provided nowever. that this exclusion shell not apply to Loss resulting from any
such Claim to the extent that .

'{i) such Claim is based on the service of any cline Directors and Ofiicers es a director.
otilcer, trustee, governed executive director or similar position cf any Outside Entity
where_sucn service is with the knowledge end consent of tire Company: and ' t

~ (ii) such Outside Entity is not permitted cr required by law to provide indemnification to

4 such Directorc and Ofiicors; and

(lli) such l.nss is not covered by insurance provided by any of lite Outelde Enlity'e
incurar(s}; -

_-t<) elleg_ing. based upon, arising out of. attributable to, directly or indirectly resulting from, in
` ~ consequence ol, erin anyway involving: _

{i) any prior or pending litigation or administrative or regulatory proceeding.~ demand letter or
formal or_ informal governmental investigation or inquiry lileo or pending on or before the
_ Co’ntinuity Date; or

‘_ (ii) any facl', c:irr:urrrstencel siluot:ion. transaction or event underlying or alleged in such
litigation or administrative or'reguletory proceeding contend letter or formal or informal
governmental investigation or inquiry;

l) etieging. based upon, arising out of._atlrn)uwble to, directly or indirectly resulting from. in
. consequence of. or in any way invoivlng. any wrongful Act. fact, circumstance or situation
which any of the insureds had knowledge`ol‘ prior to inc Continuity Dato where such
insureds,hed reason to believe at the time that such known Wrongful Act could réa§onably

- be expected to give rise to such ctaim;

m) alieging, based upon. arising out of, attributable to. directly or indirectly resulting from, in
. consequence of, or in any way involving any employment or empioyment~reieted matters ~
brought by'or on behalf of or on the right of en applicant for employment with the Compeny,
. ' _or any of the Directors_ and ofncers, including any voluntary, seasonel, temporary leased or
v independently-contracted employee of the Company;, . `

n) elleging, based upon, arising out of, attributable to. directly or indirectly resulting from. in
4 consequence of, or in anyway involving k . 1

(i) z any initial public offering of securities undertaken end consummated by the ¢cmpany,
_. including ell activities in connection merewitlr; t ' ,

60 lite actuator alleged violation of the Securities Acl of 1933, the Securities` Exchenge Act
of 1934; any rules cr regulations of the Securities Excttenge Commission adopted
thereunder. any iederel, state or provincial statute or common law regulating securities
similar to the foregoing including any amendments therein. any rules or regulations
adopted pursuant thereto in connection with any Wrongful Aot actually or allegedly
committed subsequent to the consummation cf en initial public offering of securities of ‘

_ the Company. or - ' ' . -

4 c . l

(iii) any equity or debt offering. solicitetion, saie. distribution or issuance of securities of the

~ Company in excess of $50 million where such issuance takes place during the Policy

Period and is exempt from the registration requirements of the Securities and Exchange

Commiesion pursuant to Scction 3(1')) of the Securlties Acl of 1933 end rules end
regulations promulgated thereunder. or any activities or transactions dealing in any way _

with such issuance of securities of the Company; provided however, this exclusion snell

_»not apply ii the insurer agrees in writing to extend coverage 'for. Wronglul _Acts in

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‘ `-J'n.u. eni want ' nurser utmost lssocnrts ' olin l>`. n/zs

connection with such issuance of securities and the insureds novo paid lite premium
_ required by the insurer for soon coverage extonsion; or

_ ' o} for inst portion of Loss which is covered under any other Coverage‘$ection of this il>olioy.
. ` 2.3 Et<clusions Applicsbie Only to insuring Clauao A3
_ insurer shall not be liable for Loss on account of any Clalm:

` . a) alieging, based upon, arising out ot. attributable to{ directly or indirectly resulting from. in-
` `, consequence ot‘. or in any way involving the actual or alleged breach of any contract or
.. agreement except and to the extent the Company would have been liable in the absence of
‘ such contract or agreements or ‘

» b) aileging. based upon, arising out ot'. attributable to, directly or indirectly resulting from. in
‘ consequence oi, or in any way invoiving:‘ c `

(i) any.actuai or alleged infringornremtl misappropriation, or violation of oopyright, patent,
service marks. trademarks trade secrets title or other proprietary or licensing rights o'r
intellectual properly of any 'products, technologies or services; or .

' (ii) any goods or products manufactured produced processed packaged, sotd. marlr.et»zirll
distributedl advertised or developed by the Company-'

" _ Provided, howevor. ihs exclusions in Za} rand 2b) above shall not apply to any such Clalm brought or
maintained directly or inoirectiy, by one or more sécurities holders of the Company in their capacity
as such. . l

, blow Wronoful Act of cna or more insureds shall be imputed to any other insureds for tire purpose of
. . ' l determining the applicability of any of the above exciusions. ' . ‘

o. unit ol= l.tABlerY mo nerENTioNs. `

. 1. The iiobnity of the insurer shall apply only to that part of Loss which is excess of the Retention y
_ ` amounts applicable to this Covorage Section. as shown in item C of the Declarations. Sucn'
Ftetentions shall be borne uninsured by the insureds and at their own risl<. if different parts of a
single Ciaim are subject to different applicable Retentions under this Coyerage Section, the
applicable Retentions will be applied separately to each part of such l.oss. but the sum of such
` Ratontions shall not exceed the largest applicable Retontlon;

' - 2.. Aé shown in item Cl of the Declarations relating to this Coverage Soction, the following Limits of
_ _i.iability of the insurer shall apply:* ~

` a} _The amount set forth in item Cia rotating to this Coversge Section shall bo the aggregate

limit of liability for the payment of Loss under all insuring Ciauses for this Coverago' Ser:tion,v

4 subject to additional payments for Loss under insuring Ciause A“l as further described in
subsection b) immediately below. .

1 b) The amount set forth in item Ctb relating to this Coverage Section shall be an aggregate
~ limit of liability for thc payment ot Loss under insuring Ciause At in addition to the limit
described in subsection a) immediately aboue; provided. all payments for Loss under lite
additional limits described in this subsection b) shall be excess of the limit described in

_ subsection a) above, and excess of any other available insurance that is specifically excess

to this Poiicy. Such excess insurance must be completely and fully exhausted through the
payment of loss` including but not limited to'defenso costs.thereunder. before the insurer

shall have any obligations to make any payments under the additional limits described in this
subsection b}. 1 ~ _ ' '

c) The amount set forth in item C‘lc of the Deciaratlons relating to this Coyorage Section shall
be the maximum aggregate limit of liability for the payment of Loss under ali insuring
Ciauses for this governors Seotion. ’l‘he limit of liability set forth in C'ia and C’tb relating to

¢~l ¢¢-¢v`n m_’q¢`¢~¢

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this Covarage Section shall be a part of and not in addition to the maximum aggregate limit
of liability set forth in item th for this Co`veragu Section.

5 3 `Aii Ciairne arising out 'c)f the same Wrongful Act and tail lntorreiated Wruns`;tui Acts shall't)e
., , deemed to constitute a singing Claim and shail be deemed in have been made at the earliest or
' the folio_wing times, regardless or whether such date is before or during the Puiicy Period:

a) the time at which the earliest Clairn involving the same Wrongful Act or interrelated
Wrongful Act is first inade; or '

‘b) the time at_ which the Clalm involving the same Wrongfut Aut or interrelated Wrongfui
-» Acts shall be deemed to have been made pursuant to subsection E2, beiow.

y 4. 'i'ha Retention applicahi`a to insuring Clause 2 shall apply to Lo`ss resulting from any Claim ii
` ` ' indemnification for the Claim by the Company ls required or permitted by applicable iaw, to the
_`_ fullest extent so required or permitted, regardless of whether or not Such actual indemnification
" . buy the Company is made. except and to the extent such indemniiication is not made by the 4
Com party _solaiy by reason of the Company*s ilnanciat insolvency.

5. Payments of Loss by insurer shall reduce the Limii(s) of liability under this Coverege-Sectlon.
. 11 costs. Charges and E;rponses are part of, and not in addition io, the i_imits of Liabilily and
payment of Costs, Charges and Expenses reduce the Limits cr t.iability. if such Limit(s) of
Liabiiity are exhausted by payment of _Loss, the obligations of the insurer under this Coverage
Section are completely fub’liled and extinguished ' . '

f E_. ` NunrrcArioN

1. ~'l`he insureds shail, as a condition precedent to their rights. to payment under this Coverage
. Section only. give insurer written notice of any Ciaim as soon as practicabte, but in no event
‘ later than sixty (60) days after the end of the Policy Perlod. if any Ciaim is tlrst made against
- the insureds during the Extended Period, if purchased written notice to insurer must be given

as soon as practicahie. but in no event later than sixty (60) days after the end`of the Exter\ded
Period. ` ' _ . _

2.' ._i_r, during the Poiicy hence pr me discovery Pen¢`>d, tr purchased any or the insureds fiat
- - becomes aware of a specific wrongful Act which may reasonably give rise to a future Claim
covered under this Policy. and if the lnsureds, during the Policy Per'iod or the Discovory
Perind. if purchased give written notice to insurer as soon as practicable of: '
` a) a description of the Wrungful Act allegations anticipated;
b) the identity br the potential ciaimams;
c) the circumstances by which the insureds first became aware of the Wrongful Act;
d) the identity of the insureds allegedly invoived;
'_ e) ' the consequences which have resulted or may rasuit: and '
f) the nature of the patential monetary darnages and non-monetary reliaf;
_ then any Ciaim made subsequently adding out of such Wrongfui Act shall be deemed for the

_ purposes of this Coverage Section to have been made at the time such notice was received by
_ the insurer No coverage is provided for fees, expenses and other costs incurred prior id the

_ time such Wrongful Act results in a Claim._

3. 1 Notice ta insurer ehali be given to the address shown under item G cf the-Deciarations for this
»Poiicy. - . ~ ‘~ . ' '-

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4 F. » sETTLEmr-:m ANo clarence

. i. ll shall be the duty of the insurer end not the~cluty of the insureds to defend any Claim. Sueh
. duty shell exist even if any cline allegations are groundless, false or fraudulent 'i”he lnsurer'e
' .cluty to defend any Clalm shell cease when the Limlts of Llabillly have been exhausted by the

' payment of Loss including Costs, Chargos and Expense$.

2. The insurer may make any invesiigeiion it deems necessary and shall have the right to settle
any Ciaim', provided, however, no settlement shall be marie without the consent of the Parent
`Cempany. such consent not to be unreasonably withheld. .

_3. The lnsureds agree not to settle or offer lo settle any Claim, incur any Coei.s. Chargoo and
Exponses or otherwise assume any contreclualobligation or admit any liability with respect to
eny Claim without the prior written consent of the lnsurer, such consent nol to be unreasonably

. withheld.' 'i'he |nsurer shall not be'lieb_le for any selliement, Cosis, Charges and E)¢penses,
'_ assumed obligation or admission lo which it has not consented. The insureds shall promptly

send -`to the insurer all settlement demands or offers received by any insured from the
_claimant(s). ' ~

4. The insureds agree to provide the lnsurer with all information, assistance and cooperation
which the insurer reasonably requests and agree ihet, in the event of a Ciaim, the insureds will

do nothing that shell prejudice the position of the insurer or its potential or actual rights of
recovery _ ` . ~ ~

,' ' e». orr-reh insurance

li any l.oss covered under this Coverago Seciion is covered under any other valid and collectible
irisurance. then this Polloy shall cover `the Loss. subject to its terms and conditions.‘only to the
~ ~, , extent that the amount of the l.oss is in excess of the amount of such other insurance whether such
other insurance is stated to be primary contributory excess, contingent or otherwise unless such

other insurance is wrinen only as specific excess insurance over the leil of Llabillty .for this
Coverage Sec_tion. ` ' _ .

,H. PAYMENT PRioRrrv

‘ 41. if the amount of any Loss which is otherwise due and owing by the insurer exceeds the then»
' remaining i.imit of liability applicable to the Loss, the insurer shall pay the Loss, subject to such '
Limii of Liability, in the following priority: '

e):. iiret,~ the insurer shell pay any Lose covered under insuring Clause Ai, in excess of any
applicable Retentlon shown in item C of the Deelarazions: and ‘

b) second, only if and to the extent the payment under subsection l ebcvo_does not exhaust the
' applicable Limit of Liability, the insurer shall pay any l_oss in excess of'the Reiontion shown
_in item C of the Declaraiione covered under any other applicable insuring Clause.

c) Suhject to the foregoing subsection the insurer shali. upon receipt of a written request from '
l the Chief ,Executive Offlcer of the Parent Company, delay any payment of Loss otherwise
due and owing to or on behalf of the Company until such time as the Chief'Execulive Officer
of the Parent Company designeies, provided the liabiliiy of the insurer with respecl to any

._ such delayed Loes payment shall not he lncreesed. end shall not include any inierest, on
account of such delay . ' ‘

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' ' THIS ENDORSEMENT CHANGES THE PGL|CY. F'LEASE READ lT CAREFULL.Y.

 

_ f women insured

 

 

 

 

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SMl 20025651 Septombor 25, 2305 to Seplembor 25, 2006 September 25, 2005-

 

lssueo By tlllsme of lnsoranca Company} .
lllinois Union insurance Cornpany

 

 

 

NON»ENT|\°Y EMPLO`YMENT 'PRACTlCES

4 ~ lt is agreed that the Ulrectors & Oflicers and Compeny Coverage Soction ls amended as follows: _

1.` Seclion B. Definitions. is amended as follows:
4 a. The following ls added to subsection l. the definition of Claim:

_. Claim also means:

'l‘) _ a civil proceeding against Dlrectors and Oflicers'before the Equal Employment _
_ " - Opportunlly Commission or any similar federal state or local governmental body, _
commenced by the lilan of a notice of charges, investigative order or similar document.

.Claim does not include a labor or grie_vance proceeding which ls pursuant to a collective
l bargaining agreement.»

. b. Solely with respect to coverage provided pursuant lo this endorsement subsection 9._the
definition of Wrongful ~Ac`t is deleted in its entirety and replaced with the following:
_ 9. Wronglul Act means any actual or alleged: , ~ . l ,
1 . ~ wrongful dismissal or discharge or termination of employment. whether actual or
constructive:
employment~.rolatecl misrepresentation; - v
violation of any federal slate or local laws (whethor common law or stalutory)i
- ‘ concerning employment or discrimination in employment
sexual harassment or other unlawful workplace harassment . ~ .
wrongful deprivation of a career opportunity or tailure to employ or promoto;
wrongful discipline of employees ` _ _
‘_ retaliation against employees for the exercise of any legally protected rlght or for
`~ engaging in any legally protected activity; 4
8. negligent evaluation of employees; ~ l ' .
9. ‘ failure lo adopt adequate workplace or employment policies and procedures
10. employment-related .libel, slander.' defamation or invasion of privacy; or
1 1. employment~relaled wrongful infliction of emotional distress-

`N@welpw'“

2. , So_ction C. El<cluislons. is amended as follows:
`- `a.'~' The following is added to subsection 2§ Exolusions A`pplicabie Only to insuring Clauoe A3:
c) elleging. based upon. arising oot`of, attributable lo, directly or_ indirectly resulting from, in
' _ consequence of, or in any way involving any employment or employment -rolated matters
brought by or on behalf of or on the right of an applicant for employment with the Company “

or any of the Directors and Ol‘licer`s. including any voluntary, ooasonal. temporary leased
~ or independently~conlracted employee of the ¢'.';omprlnyf ‘ - ' - ' ' ' ‘~

emma Q._ " _ 4 y » ` v ‘_ _ `_ e...;.'...¢~

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'b. Subsection tm is defeated in its entirety.

_g. Soteiy with respect to coverage provided pursuant to this endorsement Section C. Exctusions. is
amended by deteting e'xciusion a} from subsection 1, Exciustons Appiicabie to att insuring ‘
Ciausea, and inserting the following §

a) for actuat or aneng bodily injury. sicknese, disease. death, aasauit, tiattery or damage to or
destruction of tangibie property, including loss of use thereof, whetherlor not such property ts
physically injured. ` - '

` d. The intimth is added to éuhséction 1, Exciusions Appticable to att insuring Ctauses, exciusion
e): " ' l .' '

(v) brought by one `or more of the Diroctors and Officera for any empioym`ent or emptoyment-
related matters. » . ‘

" 3. Soie!y tivith respect to coverage provided pursuant to this endorsement, Section F. Settiement and
Defense. is amended by.rieietin'g subsection 2.

' ; _Aii other terms and c_onditions ot this Poticy remain unchlanged. `

sL~1§319 ' '» ' , '. Pa_nezmz

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TH|S ENDORSEMENT CHANGES THE PQUCY. PLEASE READ IT CAREFULLY.

 

 

 

 

 

 

 

 

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Aurora Lighting, inc. ' »
Roiicy Symboi policy Number Poiicy Poriod _ _ Effa¢give
. BMi ' 20025651 Septomber 25, 2005 to Septembor 25, 2008 Septembe,~ 25, 2005
' issued By (Name of insurance Cnmparry) . . `
iliinois union |nsurance Cornpany

 

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__ ._4__iti'§ agraad-that Sec`tion C, Exciusions, of the Directors & Otiicers and Company Coverage Seotio`n is
` amended by adding the following to subsodtinn 1: _ '

`p. `alieg`ing, based upon, arising out of. attributabie to, directly or indirectly'resuiting from, in
consequence'of, or in any way involving the rendering or failing to render profeésional servir:es. '
Prov'ided. howeyer. this exclusion shail not apply to any Clalm(s) brought by a securities notder
of the Company in the form of a securities holder ciass. individual or derivative action alie_gr‘ng `

. faiiu_re to supervise those who performed or failed to perform such professional servicas, '
' 4 provided'that such securities hoider action is instigated and continued totaiiy independent oi',
and totaiiy without the soiicitation of, or assistance of, active partioipation of, or intervention of
the Cornpany and/or any insureds. .

' w Ail other terms and conditions of this Poticy remain unchanged

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. . Servioee
POl.iC¥HOLDER DlSCLOSU§E

NOTICE OF TERROR|$M .
lNSURANCE COVERAGE

» _ you should be aware that under the Torrorism Risl< insurance Act of 2002 ("`l'he Act") effective
_Novemoer 26, 2002. any_losses caused by certified acts of terrorism under your existing coverage
may be partialiy.reimbursed by the united Stetes under a formula established by federal law
` (applicability is subject to the terms and conditions of each individual policy). Tho Act was
.~ specifically designed to address the ability of businesses and individuals to obtain properly and
casualty insurance for terrorism and to protect consumers by addressing market disruptions and
ensure the continued availability of terrorism coverage

Uncier the terms of The Act. you may now have the right to purchase insurance coverage for

losses arising out of acts of terrorism, as defined in Section 102(1) of the Aot: Tho term "acl: of

. terrorism" means any act- thatis certified by the Secretary of the Treasury, in ooncun'ence»wlth the

Secretary of State, and the Attomey General of the United States-to be an act of terrorism; to be a

violent act or an act that is dangerous lo human life, prooeriy; or lnlraatruc£ure: to have resulted in

damage within the United States, or outside the United States in the case of an air carrier or

. vessel or the premises of a United States mission; and to have been committed by an individual or
. individuals acting on behalf of any foreign person or foreign interest as part of en effort to coerce

z the¢civilian population of the United Statee or to influence the policy or affect the conduct of the

, United States Government by coercion ' ’

Responeibiiity for Compensation under ‘t'no Aot is shared between insurance companies covered
` by The Act and the United States. Under¢ the formula set forth in 'l'he Act, the United States pays
90% of covered terrorism losses exceeding the statutorily established deductible which is paid by
_ the insurance company providing the coverage '

' We are providing you with the terrorism coverage required uy~`i’he Act. We have not-established a
separate price for this coverage; however the portion of your annual premium that is reasonably »
attributable to such coverage le equal to the amount derived by multiplying 1% of the total
premium for the coverage purchased ' ' `

`Name of lneured: Aurora Lighting, lnc.

'Poiicy No. amiaoozaaai .

,Terrorism Riai< insurance Act premiurn: $90,37

 

 

 

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Case 3509;cvaOOB30-TWP'-CCS Document 1-1’ Filed 124/04/09 Page 35 of 43 Page|D #: 39

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No coverage is- provided-by this P`olicyholder Notice nor can it be construed to replace any provisions of your
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policy. You should read your poli
you are providod. * _ _ v . _ .
Tnis Notice provides information concerning possiblo.imp`_act on your insurance coverage due,to.directives issued
by OFAC. Flease read_this Notice carefully. , _~ = ‘_ v _ ' ' t
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' z _ o Narootics traffickers: ~ ` _ ~ ,__ ' _ _ ' _ ~
cas "Speciaily Designated Nationals and Blooked Persons". This list can be located on the United Stales Treasury'$
_v_/ab site-~httpllwww.treas.oovlofsc. v - . » . ' . _ »
in accordance with OFAC_ regulations, if il is determined that you or any other insured. or any person or entity
has violated u.S. sanctions low or is a Speclaily. Designalod_ Nationai and

claiming the benefits of this insurance
C. this insurance will ve considered a blocked or frozen contract and all _

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y subject to OFAC. When an insurance policy is considered lo be such
nor premium refunds may be made without authorization from OFAC. ~ .

a blocked or frozen contract, no payments
cher limitations on the premiums and payments also apply,' - y _ -

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LAW OFFICES OF RUSSELL L. EGLI
Russell L. Egli, Esq.
2575 Willow Point Way, Suite 111
Knoxville, TN 37931
(865) 531~8192
Fax: (865) 357-9113

E-mail: 1egalaction3 O@airn.com

t

October 16, 2008

lay W. Mader, Esq. by e-maz`l
AndreW Tillman, Esq. by e~maz`l
Gary Prince, Esq. by e-maz`l
Greg Grisham, Esq. by e-maz`l
Brad Fraser, Esq. by e-mail

Re: Elder v. Girdlestone
Knox County Circuit Court

Dear Counsel:

l am Writing concerning l\/Ir. Prince’s request that We attempt a mediation in this
matter.

Mr. Girdlestone is certainly Willing to attempt a mediated resolution of this
matter. lt is obvious, however, that no such resolution can occur Without resolving the
issues arising in l\/Ir. Girdlestone’s cross-complaint as Well. lndeed, because l\/Ir.
Girdlestone intends to move forward With his claims irrespective of the resolution of
those at issue in the Elder v. Girdlestone matter and because of the intricate relationship
of the factual questions at issue in those two actions, there Would be little point in
mediating if no attempt at a global resolution is made. As Mr. Girdlestone is presently
contemplating claims for malicious prosecution against Ms. Elder and Mr. Prince, and
because he further intends to litigate the various claims at issue in the cross-complaint
regardless of the disposition of Ms. Elder’s lawsuit, it plainly Would be in the best interest
of all parties to move forward With an attempted global resolution of the issues.

Provided such a global mediation is agreed to, Mr. Girdlestone Will make himself
available on October 24, 2008 for that mediation

Thank you for your attention to this matter.

EXHIB|T B

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Nothing in this communication shall be deemed to Waive any of Mr. Girdlestone’s
rights or remedies, all of Which are expressly reserved

Very truly yours,

/s/ Russell L. Eglz`
/s/ Tcmya Acker

Russell L. Egli

Tanya Acker
Counsel to Tom Girdlestone

Cc: Tom Girdlestone
Joanne Rodriguez, Esq.

Case 3:09-cV-00530-TWP-CCS Document 1-1 ' Filed 12/04/09 Page 38 of 43 Page|D #: 42

 

** Transmit Confirmation Report **

'P_i ` 1 oct 24 2009 oa:ispm
Frantz,McConnel&Seymuu Fax:865-63l~5249

 

 

 

 

 

 

 

 

 

 

 

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FAX TRANSMITTAL

 

FRANIZ,,MCCOMVELL & SE}MOUR, LLP
Suite 500, 550 W. Main Avenue
P. O. Bc)x 39
Knozwille, TN 37901
(865) 546~9321 » phone
(865) 637-5249 - tax

 

 

 

TO: kanne

FAX NO.: 1-212~453-3647

PROM: Brad Fraser

DATE: October 24, 2008 'l`ime:

RE: Susan Elder vs. Tom Girdlestone

 

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A. Edrnonds at 265-546-9321, ~
EXHlB|T C

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FAX TRANSMITTAL

 

FRANTZ, MCCONNELL & SEYBIUUR, LLP
Suite 500, 550 W. Main Avenue
P. O. Box 39
Knoxville, 'IN 37901
(865) 546~9321 - phone
(865) 637-5249 » faX

 

 

 

TO: loanne

FAX NO.: 1-212-453-3647

FROM: Brad Fraser

DATE: October 24, 2008 Tirne:

RE: Susan Elder vs. Tom Girdlestone

 

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A. Edmonds at 865-546~9321.

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ACKl\lOWLEDGEMENT ()F INSURER’S RIGHT TO SETTLE CLAIM

The undersigned, Tom Girdlestone (“Girdlestone”), acknowledges that he is an insured
under a policy of liability insurance issued by ACE Westchester Specialty Group (“ACE”) for
claims made against him in his capacity as CEO with Aurora Lighting. A legal claim has been
asserted against Girdlestone in that civil proceeding entitled Suscm Elder vs. Tom Girdlestone,
being case number 3-385-06 in the Circuit Court for Knox County, Tennessee (“the Elder
claim”). ACE has provided defense coverage to Girdlestone in that proceeding

Girdlestone and ACE have attended a voluntary mediation pertaining to the Elder claim
with Girdlestone seeking a global resolution of the Elder claim and the claims Girdlestone may
have against Elder and other third parties that have_not presently been filed Girdlestone has
insisted that there be no resolution cf the Elder claim without full and final resolution of all
claims he may have against these other third parties These claims also involve potential
defendants that are insureds under the Sarne policy of insurance issued by ACE.

ln the context of the mediation, ACE has demanded that Girdlestone participate in the
mediation and that he must cooperate in the resolution of the Elder claim, to the extent that claim
can be resolved within the monetary limits set forth in the applicable policy.

Girdlestone does not believe that the Elder claim against him is valid or meritorious, and
would not on his own accord consent to any separate settlement of that claim. However, given
ACE’s contentions regarding the duty to cooperate as set forth in the applicable policy,
Girdlestone acknowledges that he will not interfere with settlement of the Elder claim within the
monetary limits set forth in the ACE policy. Girdlestone consents to such settlement of that
claim only because of ACE’s contentions regarding the duty to cooperate as set forth in the
applicable policy, and the potential that his refusal to cooperate might implicate defense

coverage presently being afforded to him.

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The undersigned representative of ACE acknowledges its understanding that Girdlestone
has objected to settlement of the Elder claim, without there also being a full and final resolution
of any_clairns Girdlestone may have against other third parties, including officers, directors,
shareholders and employees of Aurora Lighting. ACE also acknowledges its understanding that
Girdlestone is consenting to settlement of the Elder claim only because ACE has contended that
he is under a contractual duty to cooperate under the liability insurance policy issued to him by
ACE.

Girdlestone agrees that counsel assigned by ACE to defend him in the claims filed
against him by Elder shall be authorized to engage in settlement negotiations with regard to the

Elder claim.

l\lothing m this Acl‘;nowledgement shall be construed to waive any claims Mr.

Girdlestone

/l`om Girdle/stahe

ACE Westchester Specialty Group

have against ACE.

    
   

 

BY:

 

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SUlV.[l\/lARY OF SETTLEMENT .TERMS

CLAIl\/I: Susan Elder vs. Tom Girdlestone; Knox County, Tennessee Circuit Court
No.: 3~385~06

The above named parties have as of the date below agreed to settle all claims each of
them may have against the other as of the date of this agreement, including all claims

made in the above referenced litigation based on the following material terms:

l. Girdlestone’s insurance carrier shall pay to Elder and her legal counsel the sum of

s 351 wyo .

2. Elder agrees to dismiss the above civil action, with prejudice upon receipt of the
sum referenced above.

3. The parties will execute a more comprehensive mutual release and settlement
agreement that shall specifically include a confidentiality clause and Elder’s
agreement not to oppose any motion by Girdlestone to seal the court record in this
action. The release shall include Girdlestone’s release of any and all claims
against Gary Prince and O’Neil, Parl<er & Williamson.

4. The Order of Compromise and Dismissal shall state that the clerk’s costs are
taxed to the Defendant. The p ies shall bear their own discretionary costs and

/a;c}mey’s fees. The f?l/t e
/%/V/%/%///: x2/

Gary l\/lic el Princ§, Es§./
O’Nnxr,; ARKER & WILLrAMsoN
416 Gtimberland Avenue, S.W.
P.O. Box 217

Knoxville, TN 37901-0217

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%regory?iri’srham, Esq.
LEITNER, WILLIAMS, DOOLEY & NAPOLITAN, PLLC
254 Court Ave ZIid Fl

Memphis, rN sales

Phone: 90l -52'7 ~()2 l 4
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